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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


JOHN DOE, an individual,                        :
                                                :
                         Plaintiff,             :
                                                :
      v.                                        :   Case No. 18-cv-11776
                                                :
UNIVERSITY OF MICHIGAN (as to Title             :   Hon. Arthur J. Tarnow
IX violations), BOARD OF REGENTS OF             :   Mag. Elizabeth A. Stafford
THE UNIVERSITY OF MICHIGAN, a                   :
constitutional corporate body (as to Title IX   :   DEFENDANTS’ RESPONSE
& ELCRA violations), PAMELA                     :   TO PLAINTIFF’S MOTION
HEATLIE, ROBERT SELLERS,                        :   FOR TEMPORARY
MARTIN PHILBERT, ERIK WESSEL,                   :   RESTRAINING ORDER
LAURA BLAKE JONES, E. ROYSTER                   :   AND PRELIMINARY
HARPER, SUZANNE MCFADDEN, and                   :   INJUNCTION
PAUL ROBINSON, employees of the                 :
University of Michigan, sued in his or her      :
personal and official capacities, jointly and   :
severally,                                      :
                                                :
                         Defendants.            :


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                 STATEMENT OF THE ISSUE PRESENTED

      Whether the Court should decline to issue mandatory, preliminary injunctive

relief that would change the status quo by disrupting an ongoing student

disciplinary investigation of Plaintiff John Doe when Doe’s claims of harm are

speculative because there has not yet been any finding or determination as to the

truth of the allegations against Doe?

Answer: Yes




                                        v
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                        CONTROLLING AUTHORITY

Doe v. Miami Univ., 882 F.3d 579 (6th Cir. 2018)

Doe v. Univ. of Cincinnati, 872 F.3d 393 (6th Cir. 2017)

Flaim v. Med. Coll. of Ohio, 418 F.3d 629 (6th Cir. 2005)

Goss v. Lopez, 419 U.S. 565 (1975)

Rock & Roll Hall of Fame & Museum, Inc. v. Gentile Prods., 134 F.3d 749 (6th
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Warshak v. United States, 532 F.3d 521 (6th Cir. 2008)




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                                 INTRODUCTION
      On March 20, 2018, a student complained to Defendant the University of

Michigan (the “University”) that Plaintiff John Doe (“Plaintiff,” or “Doe”) had

forcibly raped her, anally, vaginally, and orally. The University commenced an

investigation.

      The University’s investigator, who investigates, finds facts, and ultimately

determines whether any policy violation occurred, has thus far provided Plaintiff

with written notice of the allegations, and interviewed, in person, the complaining

student (the “Claimant”), Doe, and three witnesses. The investigator has also

prepared a preliminary draft investigation report (without proposed findings),

which she has shared with both the Claimant and Doe for their comments. After

initially providing only modest edits, Doe later provided eighty-eight pages of

additional proposed edits and follow up for the investigator, including posing

specific questions to the Claimant. The feedback has necessarily delayed the

completion of the investigation.       The investigator has since interviewed the

Claimant two more times, asking her additional questions suggested by Doe. This

is as far as the investigation has progressed.

      Without so much as a preliminary finding – let alone a final decision

following the appeals process to which Doe is entitled – Doe filed suit seeking a

mandatory preliminary injunction to alter the status quo and stop the process. Doe



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 primarily asserted that: (1) he believes he is entitled to a live hearing with cross

 examination of the Claimant; and (2) the University had, in his view, wrongfully

 placed a hold on his transcript.       (The University voluntarily released Doe’s

 transcript on June 12, 2018, two days before the Court’s June 14, 2018 Order).

 The transcript issue now aside, the immediate and dispositive issue on this motion

 is that there cannot be any irreparable harm to Doe when we do not yet know what

 the outcome of the investigation will be, let alone whether it will cause cognizable

 harm to Doe.

       Just as important, and contrary to Plaintiff’s characterization of Doe v. Univ.

 of Cincinnati, 872 F.3d 393 (6th Cir. 2017), the Sixth Circuit has not held that due

 process requires live cross-examination in all cases, and Cincinnati’s narrow

 holding is not outcome determinative here. The Sixth Circuit in Cincinnati held

 that the “[the university’s] obligations here are narrow: it must provide a means for

 the [factfinder] panel to evaluate an alleged victim’s credibility, not for the accused

 to physically confront his accuser.” 872 F.3d at 406. Thus, the due process

 inquiry in this case will focus on whether the accused is afforded an opportunity to

 “respond, explain, and defend,” Flaim v. Medical College of Ohio, 418 F.3d 629,

 635 (6th Cir. 2005), and whether the process will “provide a way for the

 adjudicat[or] to evaluate the victim’s credibility and ‘to assess the demeanor of

 both the accused and his accuser.’” Doe v. Miami Univ., 882 F.3d 579, 600 (6th


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 Cir. 2018). The record demonstrates clearly that both of these things occurred.

 That the University’s process does not include a live hearing or an opportunity for

 Doe to directly confront Claimant is not determinative as to whether Doe will have

 “an opportunity to be heard” because that is not what precedent requires.

       In summary, under the University’s process, which the University has

 closely followed here, after written notice of the allegations is provided to the

 accused, the University’s investigator conducts live, in-person interviews during

 which the parties can “respond, explain, and defend” and the investigator can

 assess their credibility. The parties can also suggest specific questions to be asked

 of any other party or witness by the investigator, thereby providing precisely the

 sort of limited cross-examination contemplated by the Sixth Circuit in Cincinnati.

 Using that information, the investigator finds facts, then applies the University’s

 Policy to those facts to determine responsibility. This process is on all fours with

 the principles articulated by the Sixth Circuit.      Plaintiff’s cross-examination

 allegations are accordingly completely without merit, and as a result he cannot

 succeed on his request for injunctive relief.

       For all the reasons that follow, Plaintiff’s motion should be denied.




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                            STATEMENT OF FACTS
       John Doe relies on his factual assertions in his Complaint as his sole

 evidence on this motion. Doe alleges 1 that: (1) the Claimant filed a report against

 him on March 12, 2018; (2) the University’s Office for Institutional Equity

 (“OIE”) notified him of the report on April 2, 2018; (3) he was interviewed by the

 OIE investigator one time on April 3, 2018; (4) he was provided summaries of the

 statements and evidence collected during the investigation on May 24, 2018; and

 (5) he was permitted to provide feedback on the summaries, which he did on May

 29, 2018. The facts presented by Doe fail to acknowledge the scope of both the

 investigation thus far and Doe’s participation in the process, which is explained in

 greater detail below.

 I.    The University’s Policy and Procedures on Student Sexual and Gender-
       Based Misconduct and Other Forms of Interpersonal Violence.
       The University’s Policy and Procedures on Student Sexual and Gender-

 Based Misconduct and Other Forms of Interpersonal Violence (the “Policy”) 2


 1
   Unlike on a motion to dismiss, the allegations in Plaintiff’s complaint are not
 entitled to the presumption of truth. On a motion for preliminary injunction, a
 plaintiff must prove with evidence of record – not merely plead – a likelihood of
 success on the merits. E.g., Advance Am. v. FDIC, 257 F. Supp. 3d 56, 64 (D.D.C.
 2017) (comparing applicable standards). Indeed, “the proof required for the
 plaintiff to obtain a preliminary injunction is much more stringent than the proof
 required to survive a summary judgment motion.” Leary v. Daeschner, 228 F.3d
 729, 739 (6th Cir. 2000).
 2
   The Policy is attached as Exhibit 1 to the Declaration of Brian M. Schwartz, Esq.
 (“Schwartz Declaration”) filed concurrently with this brief.

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 govern claims of sexual assault alleged to have been perpetrated by one student

 against another. See Policy at 1, 12, 14-16. The Policy sets forth a process for

 investigating such claims that includes written notice, interviews of parties and

 witnesses, review of relevant evidence, preparation of a preliminary investigation

 report, solicitation of feedback on the report and witness statements, preparation of

 a final investigation report and determination, procedures for determining any

 sanctions, and rights of appeal. See generally id. at 1-36.

       If a violation of the Policy is alleged and reported, a claim then proceeds

 through either a formal resolution process or an alternative resolution process. See

 id at 9-10, 18. The formal resolution process, which governs Doe’s case, “involves

 an investigation and, if applicable, an appeal and sanctions.” Id. at 18. The

 participation of parties and witnesses in the University’s process is voluntary. See

 id. at 24.   The investigation is led by an investigator who serves both as a

 factfinder and decision-maker as to whether a violation of the Policy has occurred.

 See id. at 23-29.

       A formal resolution begins with written notice to the respondent. Id. at 24.

 “The written information . . . include[s] the identities of the parties, if known, a

 concise summary of the conduct at issue, and potential Policy violations.” Id. The

 investigation affords both the claimant and respondent “a full and fair opportunity

 to be heard, to submit information and other evidence, and to identify witnesses.”


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 Id. at 23. During an investigation, the investigator meets separately with the

 parties and pertinent witnesses, “offer[s] the parties the equal opportunity to submit

 and/or identify related and relevant information or evidence,” and “gather[s] other

 relevant   information    or   evidence,       including   documents,    photographs,

 communications between the parties, medical records (subject to the consent of the

 applicable person) and other electronic records as appropriate.” Id.

       Following the interviews, each party or witness is “provided with a draft

 summary of their statement so that they have the opportunity to comment on the

 summary and ensure its accuracy and completeness.” Id. During this process, the

 parties “may suggest questions to the investigator to be asked of any party or

 witness.” Id. “The investigator will determine which questions may be relevant or

 appropriate and will pose any such questions in a form the investigator deems best

 suited to be obtaining relevant information.” Id.

       The investigator reviews “all information identified or provided by the

 parties and will determine the appropriateness, relevance, and probative value of

 the information developed or received during the investigation.” Id. at 25. All

 information deemed relevant by the investigator is provided to the parties for their

 review and comment. Id. After the parties have had an opportunity to comment on

 their statements, identify witnesses and other information, and suggest questions,




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 and after the investigator has completed witness interviews and the gathering of

 evidence, the investigator prepares a preliminary report. See id. at 28.

       The preliminary report includes the parties’ statements, any witnesses’

 statements, and any other relevant information collected during the investigation.

 See id. The preliminary report does not include any findings of fact. The parties

 may provide feedback on the preliminary report, submit additional evidence or

 information they deem relevant, and request additional investigation. See id. If

 new information is subsequently incorporated into the preliminary report, the

 parties are given a second opportunity to review the report and provide additional

 feedback. See id.

       Thereafter, the investigator proceeds to determine, by a preponderance of the

 evidence, whether the respondent has committed a violation of the Policy. See id.

 The investigator prepares a final written report containing “all information from

 the preliminary report, as supplemented by the relevant feedback submitted,” along

 with “any additional information gathered[,] the investigator’s findings[,] and a

 summary of the investigator’s rationale in support of the findings.” Id. at 29. If

 the respondent is found to have committed a violation of the Policy, the University

 will initiate a sanctioning process facilitated by the Office of Student Conflict

 Resolution. Id. at 29-30.




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       Parties may appeal a final report and findings if, among other reasons, “[a]

 review of all available and relevant information indicates that the evidence clearly

 does not support the finding(s). . . .” Id. at 34. Appellate review is conducted by

 an external retired federal judge who “has the authority to determine the

 appropriateness of evidence, including whether certain evidence should be

 considered, and the strength and value that evidence will be given,” id. at 35.

       The University “strive[s] to complete resolution of any matter” within 75

 days, which clock starts with the notice of an investigation to the respondent and

 concludes with the completion of the investigation and sanctioning phase, if

 applicable.3 Id. at 18. This timeframe may be extended for good cause, such as

 when additional time is needed to ensure a complete investigation or to

 accommodate the availability of witnesses, among other reasons. See id.

 II.   The status of investigation of the allegations against Doe.
       On March 20, 2018, the Claimant requested an investigation arising from her

 allegation that Doe had raped her. See Declaration of Suzanne Q. McFadden

 (“McFadden Decl.”), attached as Exhibit 2 to the Schwartz Declaration, ¶ 3.



 3
   As a portion of that 75 days, the University strives to issue a finding within 60
 days of notice to the respondent. See id. at 27-28. Doe was notified of the
 investigation in this case on April 2, 2018. See Complaint, ECF No. 1, ¶ 30. As of
 the date of this filing, the investigation has been pending for 74 days. Doe is
 mistaken in asserting that 85 days had passed as of June 5, 2018. See Motion for
 Temporary Restraining Order (Doc. No. 4) at 3, 6.

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 Claimant met in person with the investigator, Ms. McFadden, on March 29, 2018.

 See McFadden Decl. ¶ 4.

       On April 2, 2018, the investigator e-mailed Doe and notified him that the

 University would conduct an investigation. The April 2nd e-mail read, in relevant

 part, that “we have received a report that you may have engaged in the following

 behavior toward [Claimant]: unwanted oral, vaginal, and anal penetration without

 consent, at [redacted] residence hall on or about November 11, 2018 [sic]. The

 potential policy violation that OIE will be investigating is: Sexual Assault.” Id.

 ¶ 5; see also id. Exhibit A. The April 2 e-mail also contained Claimant’s name, 4

 and linked to and attached a copy of the Policy.

       The investigator requested two meetings with Doe:          a first meeting to

 explain the allegations, the Policy, the investigation process, as well as to answer

 any questions, and a second meeting for Doe to respond to the allegations. Id. ¶ 6.

 Two meetings were then scheduled with dates and times selected by Doe, the first

 to be held on April 3, 2018 and the second on April 5, 2018. Id. ¶ 7.

       Doe met in person with the investigator on April 3, 2018, at which time he

 was advised of the Policy, OIE’s neutral role, the investigation process, the

 availability of interim measures and supportive resources for respondents, the


 4
   In asserting that he was not given notice of the charges against him sufficient for
 him to be able to respond, Doe selectively quotes from the investigator’s April 2nd
 e-mail in paragraph 60 of his Complaint and omits the specific details provided.

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 prohibition on retaliation, and Doe’s option of having an advisor present with him

 at the meeting. Id. ¶ 8. Doe was encouraged to ask questions at any time and was

 asked    to   identify   witnesses,   documents,   text   messages,     social   media

 communications, and any other information he considered relevant to the

 investigation. Id. ¶ 9. After the investigator advised Doe of the allegations, Doe

 asked to respond to the allegations immediately so that he would not have to return

 for a second meeting. Id. ¶ 10. Doe did respond to the allegations, and the April

 5th meeting was cancelled at his request. Id.

         On April 11, 2018, the investigator sent Doe a written summary of his

 interview and asked Doe to submit any comments he might have. Id. ¶ 11. Doe

 submitted very minor comments on the same day, which the investigator

 considered and incorporated as appropriate. Id. ¶ 12.

         Thereafter, Doe continued to actively participate in the investigation and

 made multiple requests for additional investigation. On May 15, 2018, Doe sent

 the investigator an e-mail requesting that a copy of the RA Duty Log from the

 night of the incident be considered in the investigation. Id. ¶ 13. The next day,

 Doe requested that the investigator include in the investigation report a copy of a

 statement from a woman he previously engaged in a sexual relationship with and a

 copy of his Eagle Scout certificate. Id. ¶ 14. Doe also identified six additional

 witnesses and requested that the investigator interview them. Id. Three of those


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 witnesses agreed to be interviewed; a fourth declined, stating that he had no

 relevant information, and the remaining two witnesses did not respond. Id. ¶ 15.

 The three witnesses were interviewed, provided a summary of their respective

 statements, and then submitted feedback on their statements. Id. ¶ 16.

       More than a month after finalizing his statement, and unprompted by OIE,

 on May 16, 2018 Doe sent significant changes to his statement. Id. ¶ 17. Among

 other things, Doe changed his statement from indicating that he had initiated anal

 sex to indicating Claimant suggested they have anal sex and, when asked by Doe to

 confirm her intention, “Claimant verbally responded without any hesitation that

 she wanted to have anal sex.” Id. Although the additional feedback was offered

 well past the deadline for doing so, and materially altered Doe’s statement with

 respect to several aspects of his version of events, the investigator nevertheless

 considered the feedback and incorporated the information as appropriate. Id.

       On May 24, 2018, the investigator sent a copy of the preliminary

 investigation report 5 to both Claimant and Doe, who were invited to provide

 feedback. Id. ¶ 18. On May 29, 2018, the investigator sent an e-mail to the parties

 asking whether they would like to propose questions to be asked of the other party

 and/or any witnesses.     Id.; see also id. Exhibit B.     Both parties submitted

 comments on the preliminary report on May 29, 2018. Id. ¶ 19. Claimant did not
 5
  The University has not attached a copy of the preliminary report to its brief, but
 would be happy to provide a copy at the Court’s request and subject to a seal order.

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 propose any questions to be asked of Doe or any of the witnesses, but Doe

 proposed a number of questions to be asked of Claimant and the witnesses. Id.

 Doe’s comments in total exceeded eighty pages, and accommodating Doe’s

 requests necessarily extended the length of the investigation. Id.

       Specifically, in responding to Doe’s feedback, the investigator spoke with

 Claimant again by phone on May 31 and June 4, 2018 to ask questions proposed

 by Doe. Id. ¶ 20. Claimant was provided a written summary of the information

 she provided on these dates, and submitted her feedback on June 8, 2018. Id. ¶ 21.

 In addition, the investigator followed up with certain witnesses by e-mail to ask

 questions raised by Doe. Id. ¶ 22. With respect to all requested changes, the party

 and witness feedback was considered and incorporated into their respective

 statements as appropriate. Id. ¶ 25.

                               LEGAL STANDARD
       In evaluating a motion for a preliminary injunction, a court considers four

 factors: “(1) whether the movant has a strong likelihood of success on the merits;

 (2) whether the movant would suffer irreparable injury without the injunction;

 (3) whether issuance of the injunction would cause substantial harm to others; and

 (4) whether the public interest would be served by issuance of the injunction.”

 Rock & Roll Hall of Fame & Museum, Inc. v. Gentile Prods., 134 F.3d 749, 753

 (6th Cir. 1998).   The movant bears the burden of establishing each of these



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 elements by clear and convincing evidence. See Garlock, Inc. v. United Seal, Inc.,

 404 F.2d 256, 257 (6th Cir. 1968); see also Winter v. Nat. Res. Def. Council, Inc.,

 555 U.S. 7 (2008).

         The primary purpose of emergency injunctive relief is “to preserve the

 relative positions of the parties” until a merits determination can be made. Univ. of

 Tex. v. Camenisch, 451 U.S. 390, 395 (1981); see also Ramik v. Darling Int’l, Inc.,

 161 F. Supp. 2d 772, 778 (E.D. Mich. 2001). Courts in this District have thus held

 there are “three types of particularly disfavored preliminary injunctions:         (1)

 preliminary injunctions that alter the status quo; (2) mandatory preliminary

 injunctions; and (3) preliminary injunctions that afford the movant all the relief

 that it could recover at the conclusion of a full trial on the merits.” Cox v. Jackson,

 579 F. Supp. 2d 831, 855 n.8 (E.D. Mich. 2008) (emphasis added) (internal marks

 omitted); Mayfield v. Miles, No. 13-10341, 2014 WL 5605301, at *5 (E.D. Mich.

 Nov. 4, 2014) (same). 6 For the reasons set forth below, Plaintiff’s request for a

 mandatory preliminary injunction that would alter the status quo should be denied.

                                     ARGUMENT
 I.      Plaintiff is not likely to succeed on the merits.
         Plaintiff has premised his request for emergency relief solely on alleged

 violations of Fourteenth Amendment procedural due process rights. See Doc. No.


 6
     Unpublished cases are attached as Exhibit 3 to the Schwartz Declaration.

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 4 at 13. In particular, Plaintiff claims that the Policy “intentionally deprives [him]

 of his due process rights and an opportunity to be heard” because the Policy does

 not provide a right to live cross examination at a hearing. Id. at 3. This argument

 is not supported by the facts or the law, so Plaintiff’s request for emergency relief

 fails.

                A.     Plaintiff’s claims fail to present a case or controversy and
                       are not ripe for decision.
          Plaintiff’s claims fail at the outset because they do not present a live case or

 controversy. “A claim is not ‘amenable to . . . the judicial process,’ when it is filed

 too early (making it unripe).” Warshak v. United States, 532 F.3d 521, 525 (6th

 Cir. 2008) (en banc) (quoting Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83,

 102 (1998)). In Warshak, the Sixth Circuit summarized the ripeness doctrine:

          Like standing, ripeness “is drawn both from Article III limitations on
          judicial power and from prudential reasons for refusing to exercise
          jurisdiction.” The ripeness doctrine serves to “avoid[ ] ... premature
          adjudication” of legal questions and to prevent courts from
          “entangling themselves in abstract” debates that may turn out
          differently in different settings. In ascertaining whether a claim is ripe
          for judicial resolution, we ask two basic questions: (1) is the claim
          “fit[ ] ... for judicial decision” in the sense that it arises in a concrete
          factual context and concerns a dispute that is likely to come to pass?
          and (2) what is “the hardship to the parties of withholding court
          consideration”?
 Id. (quoting Nat’l Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S. 803, 807-08

 (2003)).




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       Plaintiff concedes that the investigator has not decided whether he has

 violated University policy, let alone imposed a penalty upon him that interferes

 with his liberty or property interests. 7 In the absence of a decision determining

 Plaintiff violated the Policy and imposing a significant sanction, Plaintiff has no

 claim to be adjudicated. Instead, he presents only an abstract question: assuming

 the University finds him responsible for a violation, and further assuming that the

 University imposes a severe consequence such as expulsion, would any alleged

 defects in the process by which those decisions were made rise to the level of

 deprivation of property or liberty without due process?

       As the Sixth Circuit observed en banc, “Answering difficult legal questions

 before they arise and before the courts know how they will arise is not the way we

 typically handle constitutional litigation.” Warshak, 532 F.3d at 526. “Ripeness

 doctrine exists ‘to ensure that courts decide only existing, substantial controversies,

 not hypothetical questions or possibilities.’” Norton v. Ashcroft, 298 F.3d 547, 554

 (6th Cir. 2002) (citations omitted). Absent a deprivation of a protected right, the

 question of whether the deprivation happened with due process of law becomes

 purely advisory.




 7
   To the extent Plaintiff relied upon the hold on his transcript as a cognizable harm,
 that issue is moot. The University has voluntarily released Doe’s transcript. See
 Schwartz Declaration ¶ 4.

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       In Doe v. The Ohio State University, 136 F. Supp. 3d 854 (S.D. Ohio 2016),

 much as here, the plaintiff was a student accused of misconduct. He sought an

 injunction against the University continuing with its investigation of his conduct

 based on his claim that the proceedings would violate his due process rights. The

 court denied injunctive relief noting that where the investigation was at an early

 stage, with no adverse finding against the plaintiff, the claim was not ripe for

 disposition. See also Morriem v. Univ. of Tenn., No. 12–2891, 2013 WL 5673619,

 at *12 (W.D. Tenn. Oct. 17, 2013) (same); B.P.C. v. Temple Univ., No. 13-7595,

 2014 WL 4632462, at *5 (E.D. Pa. Sept. 16, 2014) (same).

       Because Plaintiff has experienced no concrete harm and may very well never

 experience any such harm, his claim fails as unripe.

              B.    Plaintiff’s constitutional claims must be evaluated in the
                    context of a school disciplinary proceeding and consistent
                    with the Sixth Circuit’s guidance.
       “Schools . . . have an unquestionably powerful interest in maintaining the

 safety of their campuses and preserving their ability to pursue their educational

 mission.” Seal v. Morgan, 229 F.3d 567, 574 (6th Cir. 2000). These interests are

 directly and particularly implicated in the efforts of universities to ensure students

 are protected from sexual misconduct, efforts mandated by federal law and the




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 requirements of Title IX. 8 Courts have emphasized that federal court review of

 university disciplinary actions is “circumscribed,” and “limited to determining

 whether the procedures used . . . were constitutional.” Flaim v. Med. Coll. of Ohio,

 418 F.3d 629, 638 (6th Cir. 2005).       Full-scale adversarial hearings in school

 disciplinary proceedings have never been required by the Due Process Clause.” Id.

 at 640-41; see also Jaksa v. Regents of the Univ. of Mich., 597 F. Supp. 1245, 1250

 (E.D. Mich. 1984) (“While a university cannot ignore its duty to treat its students

 fairly, neither is it required to transform its classrooms into courtrooms.”), aff’d,

 787 F.2d 590 (6th Cir. 1986).

       Instead, students are entitled to two basic due process protections: (1) notice

 and (2) an opportunity to be heard. Flaim, 418 F.3d at 634. A student accused of

 misconduct must be given “an explanation of the evidence the authorities have and

 an opportunity to present his [or her] side of the story.” Goss v. Lopez, 419 U.S.

 565, 581 (1975). This opportunity to be heard, “whether formal, informal, live or

 not, must be meaningful and must provide the accused with the opportunity to

 ‘respond, explain, and defend.’” Flaim, 418 F.3d at 635 (quoting Gorman v. Univ.


 8
   Title IX requires educational institutions to take action to eliminate sexual
 harassment and sexual assault, prevent its recurrence, and address its effects. See
 Office for Civil Rights (“OCR”), “Q&A on Campus Sexual Misconduct” (Sept.
 2017) (the “2017 Q&A”), attached to the Schwartz Declaration as Exhibit 4, at 1.
 As relevant here, OCR requires colleges and universities to investigate and
 adjudicate complaints of sexual assault that are brought by or against a student of
 the University.

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 of R.I., 837 F.2d 7, 13 (1st Cir. 1988)). Provided the disciplinary review process

 affords a student an “opportunity to characterize his conduct and put it in what he

 deems the proper context,” the procedures can fall well short of a formal, trial-like

 proceeding. Goss, 419 U.S. at 584. “An informal give-and-take between student

 and disciplinarian” is sufficient. Id. 9

              C.     In University of Cincinnati the Sixth Circuit did not hold
                     that traditional cross-examination is required any time a
                     credibility determination is required.
       Consistent with Goss, Flaim, and their progeny, even on its own unique facts

 Cincinnati contemplates only a “circumscribed form of cross-examination,” in

 which “written questions” are submitted through a factfinder who both screens and

 asks the questions.      Cincinnati, 872 F.3d at 396-97, 404-06 (internal marks

 omitted); see also Doe v. Cummins, 662 F. App’x 437, 439, 448 (6th Cir. 2016).

 Cincinnati announced a narrow holding arising under the unique circumstances of

 that case and related to the Court’s explicit concern that the complaining party had



 9
   Plaintiff also argues in error that his due process rights were violated because the
 Policy provides different procedures in matters of sexual misconduct than for other
 categories of misconduct. Pl. Br. at 8, 19. However, the law is clear that “[t]he
 Due Process Clause . . . sets only a floor or lowest level of procedures
 acceptable.” Flaim, 418 F3d at 637-38; see also Bakhshetsyan v. Regents of the
 Univ. of Mich., No. 17-000134-MM (Mich. Ct. Cl. Oct. 9, 2017). Whether due
 process was provided is thus an objective inquiry: does the Policy meet that floor?
 Whether procedures greater than the floor are provided under different
 circumstances is not part of the analysis, so Plaintiff’s argument is without merit.



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 never appeared in-person before the factfinder. Cincinnati, 872 F.3d at 401. Such

 is manifestly not the case here.

       Where the resolution of a disciplinary proceeding “pose[s] [a] credibility

 contest,” that is, where the situation is one of word-versus-word, limited cross

 examination to test witness credibility is in some cases required. Id. Contrary to

 Plaintiff’s characterization of Cincinnati, however, the Sixth Circuit has not held

 that a live hearing with cross-examination is required in all cases, and Cincinnati is

 not controlling under the circumstances present here.

       The ultimate due process question is whether the accused is afforded an

 opportunity to “respond, explain, and defend.” Flaim, 418 F.3d at 635; Cincinnati,

 872 F.3d at 400. “[I]f the credibility of an alleged victim is at issue,” then the

 touchstone – the critical feature for due process – is that the university “provide a

 way for the adjudicat[or] to evaluate the victim’s credibility and ‘to assess the

 demeanor of both the accused and his accuser.’” Miami Univ., 882 F.3d at 600

 (quoting Cincinnati, 872 F.3d at 406). As set forth below, the record demonstrates

 that the University process provides all these features.

              D.     The University’s procedures are consistent with the Sixth
                     Circuit’s instructions.
       Absolutely critical here, and as the Cincinnati court “emphasize[d]:” “[the

 university’s] obligations here are narrow: it must provide a means for the




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 [factfinder] panel to evaluate an alleged victim’s credibility, not for the accused to

 physically confront his accuser.” 872 F.3d at 406.

       The University’s Policy generally and as applied in this case comports with

 this principle. As explained at the status conference on June 11, 2018, under the

 Policy, the same University officer – the investigator – both conducts live, in-

 person interviews of the parties and witnesses during which she can assess their

 credibility and is the ultimate factfinder. That is what happened in this case.10

 Likewise, under the Policy, a claimant or respondent may suggest questions to the

 investigator to be asked of any party or witness. That too is what happened here.11

 Finally, the investigator, after seeking input from the parties at multiple junctures,

 “make[s] a determination, by a preponderance of the evidence, whether the

 Respondent has committed a violation of [the] policy.” Policy at 28. As noted,

 this has not yet happened in this case.

       As in Flaim, under the Policy “the trier of fact [is] able to listen to and

 observe” the parties as they share their sides of the story. Cincinnati, 872 F.3d at

 402 (quotations omitted). And, as in Cincinnati, the parties are able to submit

 10
    See Policy at 23 (investigator meets separately with the claimant, respondent and
 pertinent witnesses; offers the parties the equal opportunity to submit and/or
 identify related and relevant information or evidence); see also McFadden Decl.
 ¶¶ 4, 8, 23 (investigator in Doe’s case met with both parties and three witnesses
 live).
 11
    See Policy at 23; see also McFadden Decl. ¶¶ 18-20 (investigator solicited
 questions from Doe and posed them to Claimant).

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 questions to the trier of fact to be asked of the other party and/or witnesses, thereby

 providing effective “cross-examination.”          Id. at 396-97, 404-06.     That the

 University’s process does not include a live hearing or an opportunity for Doe to

 directly confront Claimant is not determinative as to whether Doe will have “an

 opportunity to be heard” under controlling precedent.

       Under the University’s Policy, the investigator – the finder of fact – has had

 the opportunity to evaluate the parties’ credibility and Plaintiff has had, and

 continues to have in his ongoing investigation, a full opportunity to “respond,

 explain, and defend.” Flaim, 418 F.3d at 635. There is accordingly no due process

 problem with the University’s Policy. 12

 II.   Plaintiff cannot demonstrate that absent injunctive relief he will suffer
       irreparable harm. His harm is purely speculative.
       “To constitute irreparable harm, an injury must be certain, great, and actual.”

 Lucero v. Detroit Pub. Sch., 160 F. Supp. 2d 767, 801 (E.D. Mich. 2001).

 “Irreparable harm cannot be speculative; ‘the injury complained of [must be] of

 such imminence that there is a clear and present need for equitable relief to prevent

 irreparable harm.’” Id. (quoting Wisconsin Gas Co. v. FERC, 758 F.2d 669, 674


 12
    This case also differs from Cincinnati because although Plaintiff does not
 disclose this in his papers, this case is not an exclusively word-versus-word case.
 Claimant has identified a witness, who was interviewed in person by the
 investigator, who has stated that he observed a large bruise on Claimant’s body
 shortly after the alleged assault. McFadden Decl. ¶ 24.


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 (D.C. Cir. 1985) (alteration in original)). A party may show an irreparable injury

 sufficient to satisfy the preliminary injunction standard if “an alleged deprivation

 of a constitutional right is involved.” Wright & Miller, 11A Fed. Prac. & Proc.

 Civ. § 2948.1 (3d ed.); see also Connection Distrib. Co. v. Reno, 154 F.3d 281,

 288 (6th Cir. 1998). Here, there is no actual harm because Doe will not be

 deprived of a constitutionally-protected property or liberty interest unless he is

 ultimately found to have violated the Policy at the conclusion of the investigation

 and sanctioned.

       Doe claims that the investigatory procedures in the Policy violate his due

 process rights, but those procedures cannot form the basis of a due process claim

 because Doe does not have a protected property interest in the procedures, only in

 his enrollment. See, e.g., Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 541

 (1985) (“[T]he Due Process Clause provides that certain substantive rights – life,

 liberty, and property – cannot be deprived except pursuant to constitutionally

 adequate procedures. The categories of substance and procedure are distinct.”).13


 13
   See also Olim v. Wakinekona, 461 U.S. 238, 250 (1983) (“Process is not an end in
 itself. Its constitutional purpose is to protect a substantive interest to which the
 individual has a legitimate claim of entitlement.”); Richardson v. Twp. of Brady,
 218 F.3d 508, 518 (6th Cir. 2000) (rejecting claim that plaintiff had a property
 interest in procedures); Griffith v. Fed. Labor Relations Auth., 842 F.2d 487, 495
 (D.C. Cir. 1988) (rejecting claim that plaintiff had a constitutional right to use
 certain adjudicatory procedures, explaining that property interest was the
 substantive cause of action, not the procedural specifications, and recognizing that
 procedural safeguards cannot create a property interest for due process purposes).

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 To hold that such procedures create property rights “would make the scope of the

 Due Process Clause virtually boundless,” and would mean that a person may not

 be deprived of a hearing without having a hearing. See Shvartsman v. Apfel, 138

 F.3d 1196, 1199-1200 (7th Cir. 1998).

        Independently, “if a court finds it unlikely that a plaintiff will succeed on the

 merits of a constitutional claim, the ‘argument that he is entitled to a presumption

 of irreparable harm based on the alleged constitutional violation is without merit,’”

 and “[t]he Court must look elsewhere for irreparable harm.” Ohio State Univ., 136

 F. Supp. 3d at 871 (quoting Overstreet v. Lexington–Fayette Urban Cty. Gov’t, 305

 F.3d 566, 578-79 (6th Cir. 2002)). Because Doe has not shown he is likely to

 succeed on the merits of his due process claims, he is not entitled to a presumption

 of irreparable harm. See Section I., supra. 14 In short, Doe cannot demonstrate that

 he will be irreparably harmed absent a preliminary injunction, and his motion must

 be denied.

 III.   Both the University and Claimant will be harmed if Doe’s requested
        relief is granted.
        Universities have an “unquestionably powerful interest in maintaining the

 safety of their campuses.” Seal, 229 F.3d at 574. Indeed, the power of a university


 14
     While Doe claims that the University’s hold on his “official transcript is
 irreparably harming [him] by preventing him from attending another graduate
 engineering program,” Motion at 23-24, that claim is moot now that the University
 has removed the hold on his official transcript. See Schwartz Declaration ¶ 4.

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 to “regulate its student body, including investigating and disciplining its students

 for sexual misconduct,” is required by Title IX, and a failure to do so “could

 jeopardize its federal funding.” Ohio State Univ., 136 F. Supp. 3d at 871; see also

 Bonnell v. Lorenzo, 241 F.3d 800, 822 (6th Cir. 2001) (“A college’s or university’s

 interest in maintaining a hostile-free learning environment, particularly as it relates

 to its Title IX funding, is well recognized.”).

       Forcing the University to modify its procedures midstream, before a final

 decision, diminishes the integrity of that process, and the University’s ability to

 enforce it in this and other cases. See Marshall v. Ohio Univ., No. 15-cv-775, 2015

 WL 1179955, at *10 (S.D. Ohio Mar. 13, 2015) (explaining that “[i]ssuing a

 temporary restraining order . . . would likely interfere with [the University’s]

 ability to enforce its disciplinary standards”). Finally, Doe is not the only student

 with interests in the outcome of this proceeding, and any harm to Doe must be

 balanced against the harm to the Claimant.

 IV.   Doe has not demonstrated that the relief he seeks is in the public
       interest.
       The Sixth Circuit has recognized “allegations of sexual harassment

 inherently address a matter of public concern . . . because of the public interest in

 knowing that such goings on are properly investigated and not allowed to continue

 in any given arena.”      Bonnell, 241 F.3d at 826.       Consequently, “granting a

 temporary restraining order would likely disturb the University’s ability to enforce


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 its disciplinary procedures, which would not be in the public interest.” Doe v.

 Univ. of Cincinnati, No. 1:15-CV-600, 2015 WL 5729328, at *3 (S.D. Ohio Sept.

 30, 2015); see also Marshall, 2015 WL 1179955, at *10 (“Issuing a temporary

 restraining order in this case, and in others similar to it, would likely interfere with

 OU’s ability to enforce its disciplinary standards”). Moreover, because Plaintiff is

 unlikely to succeed on the merits of his claim, this factor weighs in favor of

 denying the injunction. See Jones v. Caruso, 569 F.3d 258, 278 (6th Cir. 2009)

 (“[I]f the regulation in question is likely to be deemed constitutional, the public

 interest will not be harmed by its enforcement.”).

                                    CONCLUSION
       For the foregoing reasons, and any other reasons that may appear to the

 Court, Defendants respectfully request that the Court deny Plaintiff’s request for

 injunctive relief.

                                         Respectfully submitted,

 June 15, 2018                           /s/Brian M. Schwartz (P69018)
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                            CERTIFICATE OF SERVICE
       I hereby certify that on June 15, 2018, I electronically filed the foregoing

 papers with the Clerk of the Court using the ECF system which will send

 notification of such filing to:

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